                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:18-CV-00640-DSC


 CENTRAL NATIONAL GOTTESMAN                     )
 INC.,                                          )
                                                )
                   Plaintiff,                   )
                                                )
 v.                                             )                    ORDER
                                                )
 NAKOS PAPER PRODUCTS INC.,                     )
 CHRISTOS L. NAKOS AND LAMBROS                  )
 C. NAKOS,                                      )
                                                )
                 Defendants.                    )



       THIS MATTER is before the Court on “Plaintiff’s Motion to Compel Discovery

Responses from Defendants” (document # 46) filed December 14, 2020 and the parties associated

briefs and exhibits. See documents ## 47-48. The parties have consented to Magistrate Judge

jurisdiction under 28 U.S.C. § 636(c) and the Motion is now ripe for the Court’s consideration.


       Plaintiff seeks an order compelling Defendants to provide complete responses to its

discovery requests. Plaintiff argues that Defendants’ responses are deficient because they have

failed to produce all documents to include bank records.

       The Court has carefully examined the record, the parties’ arguments and the applicable

authorities. For the reasons stated in Defendants’ Response in Opposition, Plaintiff’s Motion to

Compel is DENIED.

       IT IS HEREBY ORDERED that:




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1. “Plaintiff’s Motion to Compel Discovery Responses from Defendants” (document #

   46) is DENIED.

2. The parties shall bear their own costs at this time.

3. The Clerk is directed to send copies of this Order to counsel for the parties.

SO ORDERED.
                              Signed: January 12, 2021




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